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      1
                           UNITED STATES DISTRICT COURT
      2                    SOUTHERN DISTRICT OF FLORIDA
                             FORT LAUDERDALE DIVISION
      3
            ALLAN GARFINKEL,                                  CASE NO:
      4                                                  0:20-cv-61617-AHS
                  Plaintiff,
      5     Vs.

      6     SCOTTSDALE INSURANCE COMPANY,

      7           Defendant.

      8     STATE OF FLORIDA
            COUNTY OF BROWARD
      9
                            CERTIFICATE OF NON-APPEARANCE
     10
                  I, Chere Barton, FPR, a Notary Public in and for the
     11
            State of Florida at Large, present via Zoom with Chancey
     12
            Smith, Esquire and Jana Rauf, Esquire, do hereby certify
     13
            That on August 19, 2021 at 2:00 p.m., the Corporate
     14
            Representative of Leak Detector, Inc. Was scheduled to
     15
            Appear pursuant to Notice of Taking Rule 30(b)(6)
     16
            Deposition Duces Tecum, and at 2:30 p.m. the
     17
            Aforementioned witness(s) failed to appear.
     18
                       Dated this 19th day of August, 2021.
     19

     20

     21
                                      /s/ Chere J. Barton, FPR
     22                               CHERE J. BARTON, FPR
                                      Notary Public
     23                               State of Florida at Large
                                      M y Commission No: #HH 033431
     24                               My Commission Expires: 12/17/24

     25                               Exhibit "B"
